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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
                  Plaintiff,                      )
                                                  )
                  v.                              ) No. 99 CR 544-3
                                                  )
 ALEX MICHAUD,                                    ) Wayne R. Andersen
                                                  ) District Judge
                  Defendant.                      )


                           MEMORANDUM OPINION AND ORDER

       This case is before the Court on the motion of the United States of America to dismiss

Defendant Alex Michaud’s petition for writ of habeas corpus. For the reasons stated below, the

motion to dismiss is granted without prejudice.

                                        BACKGROUND

       Alex Michaud was charged in this matter with conspiracy to possess with intent to

distribute cocaine in violation of 21 U.S.C. § 846. He subsequently pled guilty and was

sentenced by this Court in July, 2001 to a term of imprisonment of 112 months incarceration.

Michaud has been in custody since July 26, 1999. Although this Court recommended boot camp

and a drug program at sentencing, the Bureau of Prisons did not allow Michaud to participate in

these programs.

       In his habeas petition, Michaud seeks early admission into a halfway house, community

confinement or home confinement. Michaud argues that recently, both the Third and Eighth

Circuit Courts of Appeal rejected the Bureau of Prisons’ interpretation of regulations limiting a

prisoner’s release to a halfway house until the final 10% of the sentence, not to exceed six

months. See Woodall v. Federal Bureau of Prisons, 432 F.3d 235 (3d Cir. 2005); Fults v.
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Sanders, 442 F.3d 1088 (8th Cir. 2006). Michaud argues this Court’s recommendations should

be applied and Michaud should be immediately released to a halfway house, or his supervised

release should be reduced.

                                          DISCUSSION

       Michaud styles his motion as both a motion under 28 U.S.C. § 2241 and a motion under

28 U.S.C. § 2255. As the Seventh Circuit has held, "[m]otions under § 2255 challenge the

validity of a prisoner's conviction or sentence, while petitions under § 2241 challenge the

execution of the sentence." See Guzzino v. United States, 37 Fed. Appx. 199, 201 (7th Cir. 2002).

In this case, Michaud challenges the fact that he has not yet been admitted to a halfway house,

community confinement, or home confinement. Michaud does not attack the validity of his

conviction or sentence. See, e.g., Graves v. United States, 124 F.3d 204 (7th Cir. 1997) (holding

that when defendant challenges the Bureau of Prison’s failure to follow the Judge's

recommendation that defendant be placed in boot camp, the defendant is not challenging the

validity of his conviction or sentence and therefore, the proper remedial motion is a motion

under § 2241).

       In this case, because Michaud’s claim is that the Bureau of Prisons is improperly

executing his sentence, the motion should be construed as a motion under 28 U.S.C. § 2241.

See, e.g., United States v. Rivera, 59 Fed. Appx. 141, 143 (7th Cir. 2003). The proper venue for

a motion under § 2241 is the jurisdiction of confinement. See id. When the case is brought in any

other venue, the appropriate remedy is a dismissal without prejudice for lack of jurisdiction. See

id.; see also United States v. Mittelsteadt, 790 F.2d 39, 41 (7th Cir. 1986). Michaud’s

jurisdiction of confinement is the District of Minnesota. This Court therefore does not have

jurisdiction over his claim, and we dismiss the habeas corpus petition without prejudice.

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                                       CONCLUSION

       For the foregoing reasons, we grant the United States of America’s motion to dismiss

defendant Alex Michaud’s habeas corpus petition. (# 402). The petition for habeas corpus is

dismissed without prejudice.

       It is so ordered.




                                           ___________________________________
                                                    Wayne R. Andersen
                                                 United States District Court

Dated: December 3, 2007




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